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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


 ___________________________________
                                     :
 FINANCIAL RESOURCES FEDERAL         :
 CREDIT UNION,                       :
                                     :                                Civil Action No. 20-6180
                                     :                                        ORDER
                         Plaintiff,  :
                                     :
              v.                     :
                                     :
 ALLOYA CORPORATE FEDERAL            :
 CREDIT UNION; DIEBOLD               :
 NIXDORF AND DIEBOLD,                :
 INCORPORATED; J.P MORGAN            :
 CHASE BANK, N.A. d/b/a CHASE        :
 BANK; LOOMIS ARMORED, INC.;         :
 BRINKS COMPANY; DUNBAR              :
 ARMORED,                            :
                         Defendants. :
 ___________________________________ :

        THIS MATTER having been opened to the Court by Wilfred P. Coronato, Esq., counsel

 for defendants Diebold Nixdorf, Inc. and Diebold, Inc. (collectively, “Diebold”) on a motion to

 transfer the action initiated by plaintiff Financial Resources Federal Credit Union (“Plaintiff”)

 pursuant to 28 U.S.C. §1404(a) and a separate motion to dismiss this action pursuant to Federal

 Rule of Civil Procedure 12(b)(6); it further appearing that defendant J.P. Morgan Chase Bank,

 N.A., through its counsel Anthony C. Valenziano, Esq.; and defendants Brink’s Company and

 Brink’s, Incorporated, as successor in interest to Dunbar Armored, Inc., through their counsel

 Joseph Nicholas Froehlich, Esq. have each filed separate motions to dismiss this action pursuant

 to Federal Rule of Civil Procedure 12(b)(6); it appearing that Plaintiff, through its counsel, Daniel

 R. Bevere, Esq., opposes all four motions; the Court having considered the submissions of the
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 parties without oral argument, pursuant to Fed. R. Civ. P. 78; for the reasons set forth in the

 Opinion filed on this date, and for good cause shown,

        IT IS on this 27thth day of January, 2021,

        ORDERED that Diebold’s Motion to transfer this matter [ECF No. 12] to the United States

        District Court for the Northern District of Ohio is GRANTED, and it is further

        ORDERED that all three Motions to Dismiss [ECF Nos. 13, 22, 29] are DENIED without

        prejudice, with the right to refile such motions in the transferee court, and the entire case

        is so tranferred.

                                                                      /s/ Freda L. Wolfson

                                                                      Freda L. Wolfson
                                                                      U.S. Chief District Judge
